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                                              March 28, 2024

    VIA ECF
    Honorable Michael A. Hammer
    United States District Court
    Martin Luther King Building & U.S. Courthouse
    50 Walnut Street
    Newark, NJ 07101

                             Re: Nina Agdal v. Dillon Danis, 23-CV-16873 (MCA)(MAH)

    Dear Judge Hammer:

           This firm represents Plaintiff Nina Agdal in the above-referenced matter. I am writing to
    request a 90-day extension of all upcoming dates in the Pretrial Scheduling Order (ECF No. 33).
    Defendant consents to this request. This is the parties’ first request for an extension of the
    discovery schedule.

            The parties seek additional time to complete fact discovery. Pursuant to the current
    Pretrial Scheduling Order, the parties exchanged written discovery requests and responses but
    have yet to complete their collection and review of responsive documents to produce to one
    another. There also is some outstanding written discovery. Plaintiff also is waiting for responses
    to several non-party subpoenas that were served. With respect to the subpoena served on non-
    party Joshua Wander (concerning which Your Honor held a telephone conference on February
    16, 2024), following a motion to compel that Plaintiff filed in the United States District Court for
    the Southern District of Florida, the court recently compelled Mr. Wander’s deposition, which
    has yet to be scheduled. Accordingly, while the parties actively have engaged in discovery, the
    parties agree additional time is needed to complete outstanding discovery items.

            If Your Honor agrees with this request, kindly execute the enclosed proposed Amended
    Pretrial Scheduling Order and direct the Clerk’s Office to enter it on the docket. We are emailing
    a copy of this letter and a Word version of the proposed order to Your Honor’s chambers so
    Your Honor can easily make any changes or additions.
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  Honorable Michael Hammer
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          Thank You for Your Honor’s consideration.

                                                           Respectfully submitted,

                                                           /s/ Joseph B. Shumofsky

                                                           Joseph B. Shumofsky

  Encl.

  cc:     Mark A. Berman, Counsel for Defendant Dillon Danis (via ECF)
